Case 1:17-cr-00153-TH Document 174 Filed 08/13/18 Page 1 of 2 PageID #: 525




                     IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF TEXAS

                                  BEAUMONT DIVISION


  UNITED STATES OF AMERICA                        §
                                                  §
  VS.                                             §     CRIMINAL NO. 1:17-CR-153-4
                                                  §     JUDGE THAD HEARTFIELD
  RICARDO AVILEZ                                  §

                     DEFENDANT’S UNOPPOSED MOTION
                      TO CONTINUE SENTENCING DATE

  TO THE HONORABLE UNITED STATES DISTRICT JUDGE FOR THE
  EASTERN DISTRICT OF TEXAS, BEAUMONT DIVISION:
         COMES NOW, RICARDO AVILEZ, Defendant, by and through the undersigned

  Attorney and files the following Motion to Continue Sentencing Date and would show
  the Court as follows:

         1.      Mr. Avilez plead guilty to conspiracy to distribute and possess with intent

  to distribute 5 kilograms of cocaine, a violation of 21 U.S.C. § 841 (a)(1).

         This case is currently set for Sentencing on August 21, 2018.

         2.      A Co-Defendant in Defendant’s case has filed a Motion to Suppress

  Wiretap Evidence. A ruling by the Court sustaining the Motion to Suppress could result

  in a favorable resolution of Defendant’s case. Therefore, Defendant requests that the

  sentencing in his case be postponed until a ruling has been made by the Court to Co-

  Defendant’s Motion to Suppress Wiretap evidence.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable

  Court grant the relief requested hereinabove.




                                               1
Case 1:17-cr-00153-TH Document 174 Filed 08/13/18 Page 2 of 2 PageID #: 526




                                               Respectfully submitted,

                                               /s/ RUSSELL J. WRIGHT
                                               RUSSELL J. WRIGHT
                                               TBA#22055500
                                               P. O. BOX E
                                               SILSBEE, TEXAS 77656
                                               OFFICE#(409) 246-8844
                                               FAX #(409) 246-1001
                                               EMAIL: russjwright@yahoo.com



                              CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing instrument has been
  delivered by electronic filing to Christopher Thomas Rapp, Assistant United States

  Attorney and all other attorneys who receive electronic filings for this case on this 13th

  day of August, 2018.

                                               /s/ RUSSELL J. WRIGHT
                                               RUSSELL J. WRIGHT



                           CERTIFICATE OF CONFERENCE

         Counsel for the Defendant has communicated with Christopher Thomas Rapp,

  Assistant United States Attorney, and he is not opposed to this motion being granted.


                                               /s/ RUSSELL J. WRIGHT
                                               RUSSELL J. WRIGHT




                                              2
